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15 Attorneys for Defendant YASIEL PUIG

16                     IN THE UNITED STATES DISTRICT COURT
17                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
      JANE ROE,                                Case No. 2:20-cv-11064-FMO-MRW
19                 Plaintiff,
20                                             The Honorable Fernando M. Olguin
      v.
21    YASIEL PUIG, and DOES 1- 10,             STIPULATION AND REQUEST FOR
      inclusive,                               EXTENSION TO RE-OPEN ACTION
22               Defendants.                   IF SETTLEMENT IS NOT
23                                             CONSUMMATED
24    AND CROSS ACTION
                                               FAC Filed: Dec. 30, 2020
25                                             Trial date: May 3, 2022
26
           Pursuant to the Court's November 1, 2021, Order, the above captioned matter was
27
     dismissed without costs and without prejudice, upon good cause shown within 30 days
28
                                               1
                    STIPULATION AND REQUEST FOR EXTENSION TO RE-OPEN ACTION
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 1 from the filing date of the Order, to re-open the action if settlement is not consummated.

 2 As of today's date, the settlement has not been consummated as Defendant Yasiel Puig

 3 has failed to pay the settlement amount of $250,000.00 ("Settlement Amount"), as called

 4 for in the terms of the Settlement Agreement. Pursuant to the terms of the Settlement

 5 Agreement, the full Settlement Amount was due to Plaintiff Jane Roe on or before

 6 November 27, 2021.

 7        On November 23, 2021, counsel for Defendant Yasiel Puig contacted counsel for
 8 Jane Roe and informed them that full payment by November 27, 2021, as required under

 9 the terms of the Settlement Agreement, would have to be delayed.

10        On November 29, 2021, counsel for both parties engaged in a telephonic
11 conference wherein it was agreed that Defendant Yasiel Puig would pay $75,000.00 by

12 November 30, 2021, on the condition that the remaining $175,000.00 be paid in full on

13 or before December 24, 2021. Should Defendant Yasiel Puig fail to make either payments

14 on the agreed upon dates, Plaintiff Jane Roe will proceed with filing a Motion to Enforce

15 the Settlement Agreement.

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                   STIPULATION AND REQUEST FOR EXTENSION TO RE-OPEN ACTION
Case 2:20-cv-11064-FMO-MRW Document 156 Filed 11/30/21 Page 3 of 5 Page ID #:2923



 1            Thus, the parties jointly request that the Court extend 30-day deadline to re-open
 2 the action as prescribed in the November 1, 2021 Order, to January 7, 2021.

 3            IT IS AGREED
 4 DATED: November 30, 2021                                 MANLY STEWART FINALDI 1
 5

 6

 7                                                          By:
                                                                   VINCE FINALDI
 8
                                                                   ALEX CUNNY
 9                                                                 COURTNEY PENDRY
10
                                                                   HALEY AANESTAD
                                                                   Attorneys for Plaintiff and Counter-
11                                                                 Defendant Jane Roe
12

13
     DATED: November 30, 2021                               LESOWITZ GEBELIN LLP
14

15                                                          By: /S/ Scott Lesowitz
                                                                STEVEN GEBELIN
16                                                              SCOTT LESOWITZ
17                                                              Attorneys for Defendant and
                                                                Counterclaimant Yasiel Puig
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28   1
      Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of this document, hereby attests that all other signatories listed, and on
     whose behalf the filing is submitted, concur with the contents of this filing and have so authorized this filing.
                                                                     3
                            STIPULATION AND REQUEST FOR EXTENSION TO RE-OPEN ACTION
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    1                              CERTIFICATE OF SERVICE
                                    Jane Roe v. Yasiel Puig et al.
    2
                                Case No.: 2:20-cv-11064-FMO-MRW
    3

    4         I, the undersigned, certify and declare that I am over the age of 18 years,
    5   employed in the County of Orange, State of California, and not a party to the above-
    6   entitled cause.

    7
             On November 30, 2021, I served a true copy of STIPULATION AND
    8    REQUEST FOR EXTENSION TO RE-OPEN ACTION IF SETTLEMENT IS
    9    NOT CONSUMMATED
   10
              [ ]    By personally delivering it to the persons(s) indicated below in the
   11
        manner as provided in FRCivP5(B)
   12
              [ ]    By depositing it in the United States Mail in a sealed envelope with the
   13
        postage thereon fully prepaid to the parties indicated on the attached service list;
   14
              [X]    By ECF: On this date, I electronically filed the following document(s)
   15
        with the Clerk of the Court using the CM/ECF system, which sent electronic
   16
        notification of such filing to all other parties appearing on the docket sheet;
   17
              [ ]    By Electronic Service: On this date, I emailed a copy of the foregoing
   18
        document to the email address of the parties indicated on the attached service list.
   19
              I hereby certify that I am employed in the office of a member of the Bar of
   20
        this Court at whose direction the service was made.
   21
              [X] (FEDERAL) I declare that I am employed in the office of a member of
   22
        the bar of this court, at whose direction this service was made.
   23

   24                                            /s/   Kathy Frederiksen
   25
        Place of Mailing: Irvine, California
   26   Executed on November 30, 2021, at Irvine, California.
   27

   28


                                      Certificate of Service
                               Case No. 2:20-cv-11064-FMO-MRWx
Case 2:20-cv-11064-FMO-MRW Document 156 Filed 11/30/21 Page 5 of 5 Page ID #:2925



    1                                SERVICE LIST
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        Facsimile: (310) 341-3070
        Attorneys for DEFENDANT Yasiel Puig
    9

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                                   Certificate of Service
                            Case No. 2:20-cv-11064-FMO-MRWx
